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                        UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



UNITED STATES OF AMERICA,                )      CASE NO.5:12cr563
                                         )
                                         )
                    Plaintiff,           )      JUDGE CHRISTOPHER A. BOYKO
                                         )
             Vs.                         )
                                         )
MICHAEL DWAYNE DANDRIDGE,                )      ORDER ADOPTING
                                         )      REPORT AND RECOMMENDATION
                                         )      OF MAGISTRATE JUDGE
                                         )
                    Defendant.           )


      The above Defendant, accompanied by counsel, proffered a plea of guilty

before Magistrate Judge Vecchiarelli to the counts one and three in the Indictment. The

Court finds that the Defendant’s proffer of guilt was made under oath knowingly,

intelligently and voluntarily and that all requirements imposed by the United States

Constitution and Fed.R.Crim.P. 11 are satisfied. THEREFORE, the Court adopts the

Report and Recommendation of Magistrate Judge Vecchiarelli, approves the plea

agreement, accepts the Defendant’s offer of guilt and finds the Defendant guilty as

charged in the Indictment.

      The signed Plea Agreement shall be filed as of the date of this Order.



      IT IS SO ORDERED.

                                                s/Christopher A. Boyko
Date 6/3/2013                                   CHRISTOPHER A. BOYKO
                                                United States District Judge
